

People v Viviani (2019 NY Slip Op 05597)





People v Viviani


2019 NY Slip Op 05597


Decided on July 11, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 11, 2019

110721

[*1]THE PEOPLE OF THE STATE OF NEW YORK, Appellant,
vMARINA Y. VIVIANI, Respondent.

Calendar Date: June 4, 2019

Before: Garry, P.J., Egan Jr., Aarons, Rumsey and Pritzker, JJ.


Rachel P. Dunn, New York State Justice Center for the Protection of People with Special Needs, Delmar (Caitlin Halligan of Selendy &amp; Gay, PLLC, New York City, of counsel), for appellant.
Law Office of Michael S. Pollok, PLLC, Red Hook (Michael S. Pollok of counsel), for respondent.
Letitia James, Attorney General, New York City (Barbara D. Underwood of counsel), in her statutory capacity under Executive Law § 71.



MEMORANDUM AND ORDER
Rumsey, J.
Appeal from an order of the Supreme Court (Breslin, J.), entered March 30, 2017 in Albany County, which granted defendant's motion to dismiss the indictment.
As the circumstances under which defendant was indicted are factually indistinguishable from the circumstances under which the defendant in People v Hodgdon (___ AD3d ___ [decided herewith]) was indicted, we affirm for the reasons set forth therein.
Garry, P.J., Egan Jr., Aarons and Pritzker, JJ., concur.
ORDERED that the order is affirmed.








